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                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF DELAWARE

Consumer Financial Protection Bureau,    )
                                         )
                     Plaintiff,          )
                                         )   C.A. No. 1:17-cv-01323-MN
       v.                                )
                                         )
The National Collegiate Master Student   )
Loan Trust, et al.,                      )
                                         )
                     Defendants.         )



 PLAINTIFF CONSUMER FINANCIAL PROTECTION BUREAU’S OPPOSITION TO
       DEFENDANTS’ AND INTERVENORS AMBAC ASSURANCE CORP.,
 PENNSYLVANIA HIGHER EDUCATION ASSISTANCE AGENCY, WILMINGTON
    TRUST CO., AND TRANSWORLD SYSTEMS INC.’S MOTION TO DISMISS
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                      NATURE AND STAGE OF THE PROCEEDINGS

       Plaintiff Consumer Financial Protection Bureau (“Bureau”) brought this action against 15

student loan trusts (“Defendants” or the “Trusts”) to address illegal debt-collection activities by

the Trusts. Specifically, the Trusts, through their agents, filed tens of thousands of debt-

collection lawsuits against consumers across the country supported by false or misleading

affidavits, in some cases beyond the statute of limitations, resulting in the collection of millions

of dollars from consumers that the Trusts would not have obtained if they had acted lawfully.

Through this action, the Bureau seeks to obtain compensation for consumers harmed by the

Trusts’ illegal activities, and to prevent the Trusts—which still hold student loan debt—from

committing future violations of relevant federal law. The Bureau files this brief in opposition to

the Trusts’ Motion to Dismiss the First Amended Complaint.

                                 SUMMARY OF ARGUMENT

       This Court should deny Defendants’ motion to dismiss because the Bureau’s First

Amended Complaint was approved by an Acting Director fully accountable to the President, and

thus arguments based on the Consumer Financial Protection Act of 2010’s (“CFPA”) invalid

removal restriction are no longer properly before the Court. Also, although the Court need not

address ratification issues in order to deny the motion to dismiss, the First Amended Complaint

pleads additional facts that establish the Bureau’s diligent pursuit of its rights, thereby warranting

the application of equitable tolling.

       Moreover, the First Amended Complaint sufficiently alleges the elements of its claims.

Defendants are “covered persons” under the CFPA because they engage in acquiring,

purchasing, and servicing loans, and collecting debts. The same holds true of the Bureau’s

allegations that Defendants “engaged in” the deceptive and unfair acts or practices at issue.




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Finally, none of the allegations in the First Amended Complaint demonstrate that the initial

complaint was time-barred.

       The Court should, accordingly, deny Defendants’ Motion to Dismiss.

                                              FACTS

       Between November 1, 2012, and April 25, 2016, the Defendants filed over 90,000 debt-

collection lawsuits in courts across the country against borrowers whose student loans

Defendants ostensibly owned. See D.I. 362, First Amended Complaint (“D.I. 362”) ¶ 51. The

relevant Defendant Trust was the named plaintiff in every collection action. See id. ¶ 52. In

support of these lawsuits, Defendants’ agents prepared notarized affidavits swearing to facts

purporting to demonstrate that Defendants owned the sued-upon debts. See id. ¶¶ 53-54. In

numerous instances, sworn representations contained in these affidavits were false. See id. ¶¶ 55-

66. Defendants’ agents improperly notarized nearly every affidavit they filed from November 1,

2012, to August 3, 2014. See id. ¶¶ 71-79. And on hundreds of occasions Defendants’ agents

filed collections actions without possessing proof of Defendants’ ownership of the loans in

question, or filed collections actions beyond the applicable statutes of limitations. See id. ¶¶ 86-

87. Defendants’ agents engaged in this conduct for the benefit of Defendants. See id. ¶¶ 49-50.

This conduct constituted deceptive and unfair acts and practices under the CFPA, see id. ¶¶ 89-

122, and caused millions of dollars in harm to over two thousand consumers. See id. ¶¶ 80-86.

       After the Supreme Court’s June 2020 decision in Seila Law v. CFPB, certain intervenors

filed a motion to dismiss the Bureau’s initial complaint, arguing, inter alia, that the case could

not proceed because at the time the Bureau filed the complaint, a provision of the CFPA

invalidly purported to shield the Bureau’s Director from removal at will by the President. The

Court agreed and dismissed the complaint. The Court also agreed with the Bureau that



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ratification could potentially cure any problem stemming from the removal restriction, but

concluded that the Bureau’s ratification, which occurred ten days after the Supreme Court issued

its decision in Seila Law, had come too late. The Court held that the deadline for such ratification

could be equitably tolled, but ruled that the Bureau had not satisfied the requirements for tolling

because it had not identified specific facts showing that it diligently pursued its rights in this

case. See D.I. 359, Memorandum Opinion (“D.I. 359”) at 11-14. The Court granted the Bureau

leave to file an amended complaint and the Bureau did so.

                                        LEGAL STANDARD

         To survive a motion to dismiss under Rule 12(b)(6), a complaint must contain sufficient

factual matter, accepted as true, to “state a claim to relief that is plausible on its face.” Bell Atl.

Corp. v. Twombly, 550 U.S. 544, 570 (2007). A claim has facial plausibility when the plaintiff

pleads factual content that allows the court to draw the reasonable inference that the defendant is

liable for the misconduct alleged. Id. The plausibility standard is not akin to a “probability

requirement, but it asks for more than a sheer possibility that a defendant has acted unlawfully.”

Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quotation omitted). The Court is “required to accept

as true all allegations in the complaint and all reasonable inferences that can be drawn from them

after construing them in the light most favorable to the non-movant.” Foglia v. Renal Ventures

Mgmt., LLC, 754 F.3d 153, 154 n.1 (3d Cir. 2014).

                                            ARGUMENT

    I.      The CFPA’s Invalid Removal Restriction Is No Impediment to This Case
            Proceeding

         A. The Bureau’s Director is Fully Accountable to the President and Was So When
            the Bureau Filed the First Amended Complaint

         Defendants seek to dismiss the First Amended Complaint because the CFPA formerly

purported to limit the grounds on which the President could remove the Bureau’s Director. But


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that issue was resolved by the Supreme Court in June 2020. The Bureau filed the First Amended

Complaint nine months later while headed by an official indisputably removable at will by the

President. Defendants’ arguments about the CFPA’s invalid removal restriction are no longer

properly before the Court, and provide no grounds for dismissing the First Amended Complaint.

       “In general, an amended pleading supersedes the original pleading and renders the

original pleading a nullity. Thus, the most recently filed amended complaint becomes the

operative pleading.” Garrett v. Wexford Health, 938 F.3d 69, 82 (3d Cir. 2019) (citations

omitted). “Of course, the original pleading is not entirely without effect. When the original

pleading has been superseded, an amended pleading still may relate back to the filing date of the

original pleading for statute of limitations purposes.” Id. at 82 n.18.

       It is elementary that a defect in a superseded complaint provides no grounds for

dismissing an amended complaint if the amended complaint does not suffer the same defect. For

example, the Third Circuit held in Garrett that an amended complaint that was filed after the

plaintiff was released from prison could not be dismissed simply because the original

complaint—filed while the plaintiff was in prison—was subject to dismissal for failure to satisfy

the Prisoner Litigation Reform Act (PLRA). Id. at 84. “When he filed the [amended complaint],”

the court explained, “Garrett was no longer a prisoner and therefore was not subject to the

PLRA’s administrative exhaustion requirement. Thus, because it relates back to the original

complaint, the [amended complaint] cures the original filing defect.” Id.; see See also id. at 82

(“[I]t is [the plaintiff’s] status at the time of the amendment and not at the time of the original

filing that determines whether a statutory precondition to suit has been satisfied.”).

       The Bureau’s filing of the First Amended Complaint resolved the issue this Court found

with the original complaint. The Court dismissed the original complaint under Rule 12(b)(6)



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because it was filed when the Bureau’s Director was purportedly insulated from at-will removal.

But that alleged legal defect no longer existed at the time the Bureau filed the First Amended

Complaint in April 2021. Nearly a year before that filing, the Supreme Court held the statutory

removal restriction invalid and severable, making clear that from that point on, “[t]he agency

may … continue to operate, but its Director, in light of our decision, must be removable by the

President at will.” Seila Law LLC v. CFPB, 140 S. Ct. 2183, 2192 (2020). Thus, there is no

dispute that the Bureau filed the First Amended Complaint when it was headed by an official,

Acting Director Uejio, who was, is, and will continue to be fully accountable to the President. 1

       Defendants also do not dispute that the First Amended Complaint relates back to the

original complaint for statute of limitations purposes. The First Amended Complaint relates back

because it “asserts a claim or defense that arose out of the conduct, transaction, or occurrence set

out—or attempted to be set out—in the original pleading.” Fed. R. Civ. P. 15(c)(1)(B). “To

determine if relation back is proper” under this prong of Rule 15, “the only issue is whether there

is a common core of operative facts in the two pleadings.” T Mobile Ne. LLC v. City of

Wilmington, 913 F.3d 311, 328 (3d Cir. 2019) (quotation marks omitted). That condition is easily

met here: the claims in the First Amended Complaint concern the same conduct set out in the

original complaint. Where this prerequisite is satisfied, as it is here, operation of Rule 15(c) is

automatic and the First Amended Complaint relates back. Id. at 327 (“[I]f a supplemental

complaint meets the requirements for relation back then relation back is mandatory, and not




1
  Nor could Defendants claim that the legal defect this Court found in the original complaint
somehow carries forward to the First Amended Complaint and requires that pleading’s dismissal.
That argument would turn the rules of civil procedure upside down: a properly amended pleading
cures the problem with an initial filing, it is not rendered deficient by that initial problem. See,
e.g., Garrett, 938 F.3d at 84; T Mobile, 913 F.3d at 328.


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subject to additional equitable considerations.”) (quotation marks and brackets omitted;

emphasis added).2

        To be sure, the Court dismissed the original complaint based on its conclusion that the

Bureau had not timely ratified the complaint. While the Bureau respectfully disagrees that its

ratification was not timely, it is sufficient for purposes of this motion to note that different rules

apply to ratifications and to amended pleadings and that those rules serve different ends.

Whereas ratification is typically a unilateral act by one party to a case or transaction, a party can

file an amended pleading only during certain timeframes specified by rule or with leave of the

court. See Fed. R. Civ. P. 15(a)-(b). Whereas ratification applies broadly to a variety of contexts

beyond just litigation, see, e.g., Restatement (Third) Of Agency § 4.01 cmt. b (2006) (discussing

ratification of contractual obligations and tortious conduct), Rule 15 is specifically meant to

“encourage resolution of [litigated] disputes on the merits whenever possible” and must be

applied with that end in mind. T Mobile, 913 F.3d at 329; see also id. at 328 (“The clear

preference embodied in Rule 15 is for merits-based decision making.”). And while this Court

considered equitable factors in assessing whether the Bureau’s ratification was timely, see D.I.

359 at 11-14; see generally Advanced Disposal Servs. E., Inc. v. NLRB, 820 F.3d 592, 603 (3d

Cir. 2016) (calling ratification “an equitable remedy”), such equitable considerations play no role

in the Rule 15 analysis once leave to amend has been granted. See again T Mobile, 913 F.3d at

327 (holding that relation back “is mandatory, and not subject to additional equitable

considerations”) (quotation marks omitted). Defendants have not explained why any aspect of

ratification doctrine would apply to the very different context of an amended pleading under


2The same rule of relation back applies both to amended pleadings, which add allegations about
conduct pre-dating the original complaint, and supplemental pleadings, which add allegations
about conduct post-dating the original complaint. See T Mobile, 913 F.3d at 327-28.


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Rule 15—let alone why it would trump the plain language of that rule allowing relation back in

these circumstances.

          B. In the Alternative, The First Amended Complaint Pleads Additional Facts That
             the Bureau Timely Ratified the Original Complaint

          As explained above, the filing of the First Amended Complaint means that the Court no

longer needs to address ratification issues at all. But if the Court does consider such issues, it

should conclude that the First Amended Complaint alleges additional facts sufficient to establish

on a motion to dismiss that the Bureau has diligently pursued its rights in this case and that its

time to ratify the original complaint was equitably tolled.3

          The Bureau has satisfied the elements of equitable tolling for the purpose of ratification

by demonstrating (1) it has been pursuing its claims diligently; and (2) that some extraordinary

circumstance beyond the Bureau’s control prevented timely filing. See Menominee Indian Tribe

of Wis. v. United States, 136 S. Ct. 750, 756 (2016). Where the first two prongs are satisfied, the

“absence of prejudice is a factor to be considered in determining whether the doctrine of

equitable tolling should apply.” Baldwin Cnty. Welcome Ctr. v. Brown, 466 U.S. 147, 152

(1984).

          The Court previously concluded that while equitable tolling was generally available in

these circumstances, the Bureau “did not identify any particular fact the Court should look upon

favorably” showing that the Bureau diligently pursued its claims. D.I. 359 at 13-14. The First

Amended Complaint provides such facts. For example, it explains that the Bureau: negotiated




3
  The Bureau maintains and preserves its prior arguments that the Court need not even reach
equitable tolling either because (1) the Bureau satisfied the statute of limitations in 12 U.S.C.
§ 5564(g)(1) when it timely filed this action or (2) if the removal restriction somehow prevented
the Bureau from doing so, then it also prevented the Bureau from discovering Defendants’
violations and thus beginning the running of the limitations clock. See, e.g., D.I. 319 at 10-11.


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with Defendants and filed a proposed consent judgment to resolve the litigation, D.I. 362 ¶ 9;

submitted briefing on various motions to intervene, id. ¶ 10; continued to prosecute this action

through multiple changes in the Bureau’s leadership, id. ¶¶ 11, 17; engaged in discovery with

Intervenors, including “litigating numerous discovery disputes,” id. ¶¶ 16, 18; submitted

“[b]riefing on the threshold legal issues related to the proposed consent judgment,” id. ¶ 19;

promptly served Defendants after the Court’s ruling on the proposed consent judgment called

into doubt Defendants’ prior waiver of service, id. ¶ 20; moved for entry of default against

Defendants, id. ¶ 22; and promptly submitted Director Kraninger’s declaration of ratification, id.

¶ 24. And the prior filings in this case reflect that the Bureau has vigorously disputed

Defendants’ and Intervenors’ attempts to dismiss this case, see D.I. 319 (opposition to first

motion to dismiss); D.I. 326, 330, 332, 335 (notices of supplemental authority submitted by the

Bureau); D.I. 351, 358 (letter responses submitted by Bureau), and has filed a First Amended

Complaint resolving any issue with the original complaint.

       Defendants’ core argument is that equitable tolling is not applicable because the Bureau

did not expressly ratify this case while it was headed by an acting official (Mick Mulvaney) to

whom the removal restriction did not apply. The Bureau reiterates its prior arguments that there

was no cause for Acting Director Mulvaney to have expressly ratified this action when no

participant in this case raised any objection to the statutory removal restriction until more than 16

months after he left the Bureau. Nor did Acting Director Mulvaney expressly ratify any other

Bureau action where the removal-restriction issue had not been raised. 4




4The Bureau also reiterates its prior argument that the Court could find that Acting Director
Mulvaney implicitly ratified the case. D.I. 351.


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       Nevertheless, what matters now is that the First Amended Complaint, in contrast to the

original complaint, alleges numerous facts demonstrating the Bureau’s diligent pursuit of its

claims. As those allegations show—particularly when properly read in the light most favorable to

the Bureau—the Bureau has in no way slept on its rights. This is true notwithstanding

Defendants’ attempts to hypothesize potential other steps the Bureau might also have taken.

After all, “[t]he diligence required for equitable tolling purposes is ‘reasonable diligence,’ not

‘maximum feasible diligence.’” Holland v. Florida, 560 U.S. 631, 653 (2010) (citations

omitted); accord Ross v. Varano, 712 F.3d 784, 799 (3d Cir. 2013).

       Having failed to show that the Bureau did not exercise sufficient diligence, Defendants

move on to claim that the Bureau failed to demonstrate that “some extraordinary circumstance

stood in [the Bureau’s] way” and prevented timely filing. D.I. 367. at 10. But Defendants

misapprehend the extraordinary circumstance at issue. It was not, as Defendants suggest, the

Supreme Court’s ruling in Seila Law; it was instead the existence of the unconstitutional removal

restriction in the CFPA, a circumstance that was both extraordinary and beyond the Bureau’s

control. See CFPB v. Navient Corp., No. 3:17-cv-101, 2021 WL 134618, at *13 (M.D. Pa. Jan.

13, 2021) (“Any defect in the CFPB’s timely pursuit of this action was caused by an obstacle

‘beyond its control’, namely the statutory language of [the removal restriction].”).

       Defendants get no further suggesting that they will suffer “enormous prejudice” from

litigating this case. D.I. 367 at 10-11. “[T]he expense and annoyance of litigation” is not a

cognizable form of injury in these circumstances. Cf. FTC v. Standard Oil Co. of California, 449

U.S. 232, 244 (1980). If a simple desire not to have to answer the allegations of wrongdoing in a

complaint were sufficient to defeat equitable tolling, no statute of limitations would ever be

equitably tolled. Allowing the Bureau to continue to prosecute its claims risks no unfair surprise



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or other injustice to Defendants. That result, moreover, is wholly consistent with the Third

Circuit’s teaching that, “as an equitable remedy,” ratification should be “applied flexibly and …

adapted to deal with unique and unusual circumstances.” Advanced Disposal Servs. E., Inc. v.

NLRB, 820 F.3d 592, 603 (3d Cir. 2016).

   II.        The First Amended Complaint Sufficiently Alleges That Defendants Are
              Covered Persons

         The allegations in the First Amended Complaint, taken as true, state a plausible claim that

Defendants are covered persons under the CFPA because they engage in acquiring, purchasing,

and servicing student loans, and collecting student loan debt. In arguing to the contrary,

Defendants ignore most of the First Amended Complaint’s allegations, and Defendants’

arguments that they cannot be covered persons as a matter of law are not supported by the

CFPA’s text or any relevant authority.

         A.      The Trusts Are “Persons” Who “Engage” In Conduct Covered By the CFPA

         The First Amended Complaint plausibly alleges that the Defendants are covered persons

subject to liability under the CFPA for their unfair and deceptive acts or practices. Under the

CFPA, a “covered person” is (1) a person that (2) engages in offering or providing a consumer

financial product or service. See 12 U.S.C. § 5481(6)(A). The CFPA defines “person” as “an

individual, partnership, company, corporation, association (incorporated or unincorporated),

trust, estate, cooperative organization, or other entity.” 12 U.S.C. § 5481(19). The CFPA defines

“consumer financial product or service” as, among other things, “acquiring, purchasing,” and

“servicing loans,” and “collecting debt related to any consumer financial product or service.” 12

U.S.C. § 5481(5), (15)(A)(i), (15)(A)(x).

         The First Amended Complaint alleges facts that are more than sufficient to satisfy these

statutory definitions. First, Defendants do not argue they are not “persons” under the CFPA, nor


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could they. The First Amended Complaint alleges that Defendants are 15 statutory trusts

organized under the laws of the state of Delaware. See D.I. 362 ¶¶ 7, 26. The Delaware Statutory

Trust Act (“DSTA”), under which Defendants were organized, provides that a “statutory trust” is

an “unincorporated association.” Del. Code Ann. tit. 12, § 3801(i) (2020). The First Amended

Complaint properly alleges that Defendants are “persons” within the meaning of the CFPA,

whether as “trusts,” “unincorporated associations,” or both, 12 U.S.C. § 5481(19).

       Second, the First Amended Complaint alleges that Defendants are “covered persons”

because they “engage in” acquiring, purchasing, and servicing consumer loans as well as

collecting debts. Indeed, the First Amended Complaint alleges that Defendants were created

specifically for the purpose of acquiring, servicing, and collecting on student loans, D.I. 362 ¶¶

27, 31, and that Defendants act in their own name to accomplish these purposes, id. ¶¶ 29-30.

Defendants’ motion concedes, as it must, that the Trusts “acquired” over 800,000 student loans

but argues that because consumers were not parties to that acquisition process, those acquisitions

do not bring the Trusts under the covered person statutory definition. See D.I. 367 at 13.

Defendants are wrong. The CFPA contains no requirement that a covered person acquire loans

directly from consumers; and certainly Congress understood that entities routinely buy and sell

consumer loans and debt without directly interacting with consumers. 5

       Defendants also engage in regular servicing of the loans they acquired through certain

designated entities. D.I. 362 ¶¶ 34-35. These designated entities have been empowered by the

Trust Related Agreements to act in Defendants’ names and for Defendants’ benefit to service



5
  Defendants, incorrectly asserting that the acquisition of the loans was not “in connection” with
a consumer financial product or service (see D.I. 367 at 13), also improperly conflate the covered
person standard with the question of whether the Defendants engaged in deceptive or unfair acts
under the CFPA.


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student loan debt. Id. ¶¶ 29, 33, 35-36. In agreements with these entities, Defendants explicitly

represent that the actions of these designated entities, acting within the prescribed authority of

relevant servicing agreements, are, legally, the actions of Defendants themselves. Id. ¶ 35.

       Defendants also engage in debt collection through certain designated entities and

contracts with subservicers to assist in these activities. Id. ¶ 36. Defendants have filed thousands

of debt-collection lawsuits against borrowers whose loans are held or allegedly held by the

Trusts since 2012. Id. ¶ 37. The Defendants are the named plaintiffs in each of these suits. Id.

Defendants are also named as defendants in countersuits and other actions related to the alleged

debts and defend such actions in their own names. Id. Defendants retain a “Special Servicer” to

ensure the servicing, collection, and litigation of delinquent and defaulted student loans for

Defendants’ benefit. Id. ¶ 38. In that role, the Special Servicer acts for and represents the Trusts,

and the Special Servicer’s actions are deemed to be the actions of the Trusts. Id. ¶ 39. Defendants

also retain subservicers to assist them in collecting debts, and Defendants exercise control over

their debt-collection subservicers. Id. ¶¶ 36, 38-41, 44-46. Defendants are responsible for

compliance with federal law concerning the servicing and collection of student loan debt. Id. ¶

32. Taken together, the allegations in the First Amended Complaint plausibly assert that

Defendants “engage in” acquiring, servicing, and collecting on student loan debt, and are thus

covered persons under the CFPA. 6



6
  Defendants’ main response to the allegations themselves is to assert that the First Amended
Complaint says things that it does not. For instance, they claim that the allegations “concede that
the Trusts are passive securitization vehicles.” See D.I. 367 at 12 (citing D.I. 362 ¶ 29). But ¶ 29
of the First Amended Complaint does not allege that Defendants are “passive securitization
vehicles,” nor does any other allegation. Similarly fabricated is the charge that the First
Amended Complaint alleges that Defendants “take no action related to the servicing of student
loans or collecting debt.” See id. Again, this may be Defendants’ preferred characterization of
themselves, but it is not what the First Amended Complaint alleges.


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        B.      Defendants’ Arguments That They Are Not “Covered Persons” as a Matter
                of Law Are Unpersuasive

        Defendants insist that the CFPA’s definition of “covered person” contains an unstated

limitation that a person must engage personally or directly in the offering or provision of a

financial product or service, and claim that they do not do so. See D.I. 367 at 11-12 (“vicarious

liability allegations [cannot] transform the Trusts into covered persons”). At bottom, Defendants’

argument is that since the Trusts have no officers or employees, they can’t “engage” in anything.

But Defendants’ argument must fail because, like any legal entity, they engage in activities

through others. The “persons” that are eligible to be a “covered person” under the CFPA include

companies, corporations, and, of course, trusts. See 12 U.S.C. § 5481(19). Given these types of

persons can only act through agents, see, e.g., J.J. Rissell, Allentown, Pa. Tr. v. Marchelos, 976

F.3d 1233, 1235 (11th Cir. 2020) (“a trust, like a corporation, is an artificial entity that can act

only through agents”), it is plain that Congress understood that the category of “covered person”

would include many persons that, by definition, act through others. The logical conclusion of

Defendants’ flawed argument would be to nullify the CFPA’s application to such entities and

restrict its authority solely to individuals, a result contrary to the plain language of the statute and

principles of statutory construction.

        Further, Defendants’ are incorrect that an entity must “directly” offer or provide a

product or service to a consumer for that entity to “engage in” the offering or providing of that

service. The phrase “engage in” is capacious and shows that Congress meant to encompass more

activity than directly “offering or providing” a relevant product or service. The ordinary, plain

meaning of “engage in” includes participating in or playing some role in an activity, but not

necessarily performing every aspect of that activity oneself. See, e.g., Black’s Law Dictionary

(11th ed. 2019) (defining “engage” as “[t]o employ or involve oneself; to take part in; to embark


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on”). Again, Defendants were established to acquire, service, and collect on student loans, they

held (or claimed to hold) the loans at issue here, and they arranged for others to service and

collect on the loans for their benefit and in their name. There can be little doubt that they were

“engaged in” the offering or provision of the relevant products or services.

        Similarly, the term “providing” is broad and courts have interpreted it in similar contexts

to include providing a service to consumers through or with the help of intermediaries. See, e.g.,

United States v. Manamela, 612 F. App’x 151, 156 (3d Cir. 2015) (while interpreting the

definitional provisions of a criminal healthcare fraud statute, concluding that “‘[p]rovide’ does

not mean ‘provide directly’”) (emphasis in original); Lansdowne on the Potomac Homeowners

Ass’n, Inc. v. OpenBand at Lansdowne, LLC, 713 F.3d 187, 202-03 (4th Cir. 2013) (finding that

several interlocking entities all “provided” cable services to consumers and rejecting the

argument that only the “initial link in a chain of delivery” qualified as a provider) (emphasis is

original).

        Finally, other sections of the CFPA demonstrate that Congress was capable of drafting

provisions to reach only the direct offering or provision of products or services when it chose to

do so. See, e.g., 12 U.S.C. § 5481(15)(A)(vii)(I) (exempting from one definitional provision

merchants dealing in a “nonfinancial good or service sold directly by such person to the

consumer”); See also 12 U.S.C. § 5517(a)(2)(A)(i) (referring to persons that “extend[] credit

directly to a consumer”).

        The authorities Defendants cite illustrate clearly the error in their argument. They begin

by citing to Pollice v. Nat’l Tax Funding, L.P. for its holding that an entity can only be

vicariously liable for the actions of a “debt collector” if the entity itself is also a “debt collector”

under the Fair Debt Collection Practices Act (FDCPA). 225 F.3d 379 (3d Cir. 2000), abrogated



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on other grounds by Henson v. Santander Consumer USA Inc., 137 S. Ct. 1718 (2017). But even

accepting Defendants’ entirely unsupported premise that the FDCPA’s statutory regime maps

onto the covered person analysis under the CFPA, the holding in Pollice actually favors the

Bureau’s position. The Third Circuit held that all of the Pollice defendants were ‘debt collectors’

under the FDCPA, including an entity that purchased the underlying receivables but had no

employees and thus did not itself contact consumers and demand payment. Id. at 405. Indeed, the

Third Circuit was even more explicit in a later FDCPA case, Barbato v. Greystone All., LLC, 916

F.3d 260 (3d Cir. 2019). There the court rejected the argument that a “passive debt owner” could

not be a “debt collector” under the FDCPA. See id. at 266-68 (“As long as a business's raison

d’être is obtaining payment on the debts that it acquires, it is a debt collector. Who actually

obtains the payment or how they do so is of no moment.”).

       Defendants also point to two inapposite cases interpreting a provision of the Real Estate

Settlement Procedures Act (“RESPA”). See D.I. 367 at 15 (citing Christiana Tr. v. Riddle, 911

F.3d 799 (5th Cir. 2018) and Hawk v. Carrington Mortg. Servs. LLC, 2016 WL 4433665 (M.D.

Pa. Aug. 17, 2016)). In both of those cases, plaintiffs unsuccessfully sued mortgage holders

under a RESPA provision explicitly limited to “servicers.” Christiana Tr., 911 F.3d at 801-02,

804; Hawk, 2016 WL 4433665 at *1. But under RESPA, a “servicer” is the person responsible

for receiving payments from mortgagees and transmitting those funds to the mortgage holder per

the terms of the loan, and the definition of the term does not contain broad language like

“engage” or “provide.” See 12 U.S.C. § 2605(i)(2), (i)(3). Furthermore, the statute explicitly

exempts a lender or loan holder from the definition of “servicer” unless it performs the specific

servicing conduct itself. See 12 U.S.C. § 2605(i)(2). These courts’ interpretation of a specific

provision of RESPA has no bearing on the interpretation of “covered person” under the CFPA.



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   III.      The First Amended Complaint Sufficiently Alleges That Defendants Engaged in
             Unfair and Deceptive Acts or Practices

          The First Amended Complaint also alleges that Defendants are liable for five counts of

unfair or deceptive acts or practices. The CFPB prohibits “any covered person” from “engag[ing]

in any unfair, deceptive, or abusive act or practice.” 12 U.S.C. § 5536(a)(1)(B). The Bureau may

commence a civil action to seek appropriate relief in response to violations of this prohibition. 12

U.S.C. § 5564(a); see also 12 U.S.C.§ 5531(a) (authorizing Bureau to take action “to prevent a

covered person or service provider from committing or engaging in” unfair, deceptive, or

abusive acts or practices “in connection with any transaction with a consumer for a consumer

financial product or service, or the offering of a consumer financial product or service”).

          The First Amended Complaint alleges that Defendants “engaged in” the relevant unfair

and deceptive acts or practices. As noted, one of Defendants’ primary purposes is to service and

collect on private student loans, which they do in their own name, acting—in the only way it is

possible for trusts to act—through entities that are empowered to act in Defendants’ name and as

their agents. D.I. 362 ¶¶ 27-48. Defendants, acting through these entities, filed collections

lawsuits on their own behalf and in their own name without the documentation needed to prove

ownership of the loans. See, e.g., id. ¶¶ 50-52, 80-87. Defendants, again acting through these

entities, filed hundreds of lawsuits in which they misrepresented to consumers that Defendants

had a legal right to obtain judgment on time-barred debts. See, e.g., id. ¶¶ 86-87. In similar

fashion, Defendants executed and notarized deceptive affidavits and caused them to be filed in

such debt-collection actions. See, e.g., id. ¶¶ 49, 54-79.

          These allegations are more than enough at this stage to show that Defendants engaged in

the relevant violations. As noted, the ordinary meaning of the phrase “engaged in” is broad and




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easily encompasses acting through or with the assistance of intermediaries such as Defendants’

subservicers.

        Defendants dispute that the First Amended Complaint adequately alleges that they

engaged in the relevant violations, asserting implausibly that the servicers that filed debt-

collection suits on their behalves, in their names, and for their benefit were not their agents.

See D.I. 367 at 16-19. As an initial matter, the relevant statutory language—to “engage in” an

unfair or deceptive practice—is expansive enough to encompass acting with the assistance of or

in concert with intermediaries even when those intermediaries are not agents. Cf. FTC v. Neovi,

Inc., 604 F.3d 1150, 1155-57 (9th Cir. 2010) (explaining that an entity “is not discharged from

liability” for unfair practices simply because others participated in the illegal conduct and noting

that “a single violation of the Act may have more than one perpetrator”).

        But even if the Court concludes that the Bureau must allege an agency relationship

between Defendants and their servicers, the Bureau has done so here. The First Amended

Complaint alleges that Defendants hired the servicers to act as their agents and, in particular, to

file debt-collection lawsuits in Defendants’ names in state courts across the country. See, e.g.,

D.I. 362 ¶¶ 3, 28-33. These and similar allegations suffice at this point to describe an agency

relationship. See Jurimex Kommerz Transit G.M.B.H. v. Case Corp., 65 F. App’x 803, 808 (3d

Cir. 2003) (A plaintiff “must allege facts sufficient to allow [an agency] relationship to be proven

at trial, but it is not required to have extensive proof at the complaint stage.”).

        Defendants selectively quibble with the Bureau’s interpretation of certain provisions in

the Trust-Related Agreements, but their arguments fall short of the mark. See D.I. 367 at 16-17.

For one thing, Defendants fail to even acknowledge other relevant provisions described in the

complaint that go to their liability. See, e.g., D.I. 362 ¶ 31 (Trusts represent that they “engage in”



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servicing student loans), ¶ 32 (Trusts assume responsibility for compliance with all federal laws

and regulations). Nor are Defendants’ arguments persuasive on their own terms. For example,

Defendants quote part of the Special Servicing Agreement stating that the Special Servicer is not

subject to the supervision of the Trusts. But the very next sentence of that agreement (which

Defendants leave out) demonstrates that the Special Servicer, in carrying out the responsibilities

specified by the agreement, “act[s] for,” “represent[s],” and is deemed “an agent of the Trusts.” 7

       More fundamentally, the ultimate determination whether an agency relationship exists is

a question of fact that cannot be resolved at this stage. See, e.g., Canavan v. Beneficial Fin.

Corp., 553 F.2d 860, 865 (3d Cir. 1977) (“Because the existence of an agency relationship

hinges largely on the particular facts of each case, discovery was essential to the preparation of

an agency theory argument in this case.”); Jurimex, 65 F. App’x at 808 (reversing decision

granting motion to dismiss and explaining that “the factual nature of the [agency] relationship

alleged in the amended complaint would be better understood after discovery”). Parties’

characterizations of their relationship in an agreement do not control this factual issue.

See Restatement (Third) Of Agency § 1.02 (2006).

       In particular, such characterizations do not speak to whether the servicers acted with

apparent authority. “Vicarious liability can … be based on apparent authority. Apparent authority

arises in those situations where the principal causes persons with whom the agent deals to

reasonably believe that the agent has authority despite the absence of an actual agency

relationship.” Covington v. Int’l Ass’n of Approved Basketball Offs., 710 F.3d 114, 120 (3d Cir.

2013) (quotation marks omitted). Courts have frequently held entities liable for the conduct of


7“Unless expressly authorized by the Trusts, the Special Servicer shall have no authority to act
for or represent the Trusts, respectively, in any way other than as specified hereunder and shall
not otherwise be deemed an agent of the Trusts.” D.I. 310, Exhibit 1, § 17 (emphasis added).


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others acting with apparent authority. See, e.g., FTC v. Stefanchik, 559 F.3d 924, 930-31 (9th

Cir. 2009) (holding defendant liable for deceptive acts of his apparent agent); FTC v. Inc21.com

Corp., 688 F. Supp. 2d 927, 939 (N.D. Cal. 2010) (defendant that “organiz[ed]” telemarketing

operation and “reap[ed] its profits” was liable for deceptive acts of call centers acting on its

behalf even if the defendant did not authorize those misrepresentations); FTC v. Five-Star Auto

Club, Inc., 97 F. Supp. 2d 502, 527 (S.D.N.Y. 2000) (“The law is clear that under the FTC Act, a

principal is liable for misrepresentations made by his/her agents (i.e., those with the actual or

apparent authority to make such representations) regardless of the unsuccessful efforts of the

principal to prevent such misrepresentations.”). The First Amended Complaint is replete with

allegations that the servicers acted with, at minimum, apparent authority when they filed lawsuits

and affidavits on Defendants’ behalf and in Defendants’ names. The reasonable inference of

consumers in such cases would be that the servicers had the authority to carry out these actions.

This is all that is required at this stage in the proceeding.

         IV.     The Bureau’s Allegations Are Not Barred by the Statute of Limitations

        There are no grounds to dismiss the First Amended Complaint based on the CFPA’s

statute of limitations. As the Court previously recognized, it cannot, as a matter of law, resolve

statute of limitations issues by relying on facts outside the pleadings. D.I. 359 at 13 (citing

Stephens v. Clash, 796 F.3d 281, 288 (3d Cir. 2015)). Again Defendants attempt to rely on facts

outside the pleadings by pointing to the existence of a civil investigative demand (“CID”) — an

investigative tool used to collect information from a person who may have information relevant

to a possible violation — issued by the Bureau on September 4, 2014. See D.I. 367 at 19-20.

Defendants use this information request to speculate about what the Bureau “knew” or




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“believed” at the time it was issued. See id. 8 But the materials on which Defendants seek to rely

are not pled in the First Amended Complaint, and are not otherwise properly before the Court on

this motion to dismiss. (And even if they were, it would be plain error to construe these materials

in the light least favorable to the Bureau on a motion to dismiss, as Defendants urge.) Defendants

simply ignore the Court’s order and repeat almost verbatim the arguments that this Court already

rejected. Compare Defs. Br. at 20, with D.I. 301, Ambac Movs. Br. at 26. Defendants provide no

reason the Court should revisit its prior holding, which was entirely correct.

                                         CONCLUSION

       For the foregoing reasons, the Court should deny Defendants’ Motion to Dismiss (D.I.

366). The Bureau filed the First Amended Complaint while headed by an official the President

can remove at will, the First Amended Complaint states claims against Defendants, and the

claims are not time-barred.9



Dated: June 11, 2021


                                              Respectfully submitted,


                                              Attorneys for Plaintiff
                                              Bureau of Consumer Financial Protection


                                              CARA PETERSEN

8
  Defendants have it backwards when they suggest that the Bureau cannot issue a CID, or even
open an investigation, unless it has already discovered the relevant violations. D.I. 367 at 19-20
n.14. To the contrary, CIDs and other investigatory tools are a means by which the Bureau
discovers violations of law such as those alleged in the First Amended Complaint.
9 The Bureau respectfully submits that the presentation of facts and legal arguments in the briefs

and record is sufficiently clear to warrant resolving Defendant’s motion without oral argument.
The Bureau stands ready, however, to present oral argument if the Court determines that it would
be of assistance in resolving the motion.


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                                    CERTIFICATE OF SERVICE

       I hereby certify that on June 11, 2021, I electronically filed Plaintiff’s Opposition to

Defendants and Intervenors Ambac, PHEAA, TSI, and WTC’s Motion to Dismiss with the Clerk

of Court using CM/ECF which will send notification of such filing(s) to all parties to this matter

registered for CM/ECF.



Dated: June 11, 2021



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